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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION


MOHAMED LEMINE M’BARECK                                                               PLAINTIFF

V.                                  CASE NO. 5:21-cv-5054

ALEJANDRO MAYORKAS, as Secretary of
the Department of Homeland Security, in his
official capacity; UR JADDOU, as Director of
USCIS, in her official capacity; and PETER
HAERTLING, as Director of the USCIS New
Orleans Asylum Office, in his official capacity 1                                 DEFENDANTS


        AMENDED COMPLAINT AND PETITION FOR WRIT OF MANDAMUS

                                PRELIMINARY STATEMENT

       1.      Petitioner, Mohamed Lemine M’Bareck, is a refugee from Mauritania who has been

seeking asylum based on race, political opinion, religion, and membership in a particular social

group since 2018. Mr. M’Bareck is requesting an initial credible fear interview for his asylum

application from the United States Department of Homeland Security (“DHS”).

       2.      Mr. M’Bareck has been waiting three years for the interview to be scheduled. The

delay in scheduling this interview is a violation of non-discretionary statutory requirements.

Specifically, the Immigration and Nationality Act (“INA”) grants Mr. M’Bareck the right to apply




1
  The United States Senate confirmed Ur Jaddou as director of USCIS on July 30, 2021. Under
Fed. R. Civ. P. 25(d), Ms. Jaddou is automatically substituted as a party in this case in place of
Tracy Renaud, who was acting director of USCIS at the time when Plaintiff filed his original
Complaint. Peter Haertling has acknowledged in a filing in this litigation that he is Director of the
New Orleans Asylum Office. See Doc. 12-2, ¶ 1. Accordingly, he is being substituted as a party
in this case in place of “Jane Doe,” who was named in the original Complaint as a Defendant in
her official capacity as the Director of USCIS New Orleans field office. See Fed. R. Civ. P.
15(c)(1)(C) and (c)(2).
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for asylum, see 8 U.S.C. § 1158(a)(1), and the Administrative Procedure Act (“APA”) mandates

that his application must be adjudicated, see 5 U.S.C. § 555(b).

       3.      A credible fear interview is a necessary step in receiving asylum. The interview

will be used to determine whether or not Mr. M’Bareck is a refugee under 8 U.S.C. § 1158. A

refugee is a person who no longer resides in their country of nationality, “and who is unable or

unwilling to return to, and is unable or unwilling to avail himself or herself of the protection of,

that country because of persecution or a well-founded fear of persecution on account of race,

religion, nationality, membership in a particular social group, or political opinion.” 8 U.S.C.

§ 1101(a)(42)(A).

       4.      The credible fear interview is one of the first in many steps of the asylum process.

Without such an interview, Mr. M’Bareck is left uncertain as to whether he will have to return to

the persecution that awaits him in his home country of Mauritania.

       5.      Mr. M’Bareck currently resides in Fayetteville, Arkansas.

       6.      Defendants have failed to meet a basic and nondiscretionary duty to schedule a

credible fear interview and adjudicate Mr. M’Bareck’s asylum application. A Writ of Mandamus,

therefore, is necessary.

       7.      Defendants have failed to provide a credible fear interview to petitioner within a

reasonable time, thereby denying petitioner his statutory right to seek asylum. Relief under the

APA, therefore, is necessary.

       8.      A Writ of Mandamus is appropriate when (1) the party seeking the Writ has no

other adequate means to attain the relief desired, (2) the party seeking the Writ has shown a “clear

and indisputable” right to the issuance of the writ, and (3) the court concludes that the issuance of




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a writ would be the appropriate remedy in this situation. Cheney v. U.S. Dist. Ct. for D.C., 542

U.S. 367, 380–81 (2004).

       9.      The APA allows a court to compel an agency to act when a person is “suffering a

legal wrong because of agency action.” 5 U.S.C. § 702. A failure to act is considered agency

action under the APA. 5 U.S.C. § 551(13). The action, which the agency has failed to take, must

be a nondiscretionary act that the agency is required to take. Norton v. S. Utah Wilderness All.,

542 U.S. 55, 64 (2004).

                                  JURISDICTION AND VENUE

       10.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331, because this civil action arises under the Constitution, laws, or treaties of the United States,

namely 28 U.S.C. § 1361 (“The Mandamus Act’), the INA, 8 U.S.C. § 1158, the APA, 5 U.S.C.

§ 551 et seq., and 5 U.S.C. § 701 et seq., and any related regulations.

       11.     Petitioner seeks a Writ of Mandamus pursuant to 28 U.S.C. § 1361 and the court

has jurisdiction to grant such relief under 28 U.S.C. § 1651. This Court has the authority to compel

the Defendants to perform the duty of scheduling a credible fear interview for the petitioner, as

adjudicating his asylum application is a nondiscretionary duty owed to the Petitioner by the

Defendants. 8 U.S.C. § 1158(a)(1); 5 U.S.C. § 555(b).

       12.     Mr. M’Bareck seeks relief under the APA because the denial of his credible fear

interview is considered a final agency action and there has been an exhaustion of all available

remedies. Judicial review is warranted when “[a] person [is] suffering a legal wrong because of

agency action.” 5 U.S.C. § 702. Agency action is defined in 5 U.S.C. § 702(b)(2), by reference

to 5 U.S.C. § 551, as a “failure to act.” 5 U.S.C. § 551(13). This Court has the power to review

the agency’s inaction here, because “administrative inaction has precisely the same impact on the



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rights of the parties as denial of relief[;] an agency cannot preclude judicial review by casting its

decision in the form of inaction rather than in the form of an order denying relief. . . . At some

point administrative delay amounts to a refusal to act, with sufficient finality and ripeness to permit

judicial review. Envtl. Defense Fund v. Hardin, 428 F.2d 1093, 1099–1100 (D.C. Cir. 1970).

       13.       This Court has personal jurisdiction over the parties.

       14.       Venue in this judicial district is proper under 28 U.S.C. § 1391(e)(1)(C) because

this is an action against officers of the United States in their official capacities, brought in the

judicial district where the Petitioner resides, and no real property is involved.

                                              PARTIES

       15.       The Petitioner, Mr. M’Bareck, is an individual who resides in Fayetteville,

Arkansas. Mr. M’Bareck has applied for asylum in the United States but has not had a credible

fear interview scheduled.

       16.       Defendant Alejandro Mayorkas is the Secretary of DHS, which he oversees in his

official capacity. He is charged with the administration and enforcement of the INA, has the

authority to determine the refugee status of applicants pursuant to 8 U.S.C. § 1158, and is

authorized to delegate such powers and authority to subordinate employees of DHS, including

those of the United States Citizenship and Immigration Services (“USCIS”). See 8 U.S.C. §

1103(a)(1). Defendant Mayorkas is named in this Complaint in his official capacity only.

       17.       Defendant Ur Jaddou is the Director of USCIS. USCIS is charged with exercising

the DHS’s power to adjudicate asylum applications. Defendant Jaddou is sued in her official

capacity only.




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       18.     Defendant Peter Haertling is the Director of the USCIS New Orleans Asylum

Office. The New Orleans Asylum Office is currently exercising jurisdiction over Petitioner’s

asylum application. Defendant Peter Haertling is sued in his official capacity only.

                                  FACTUAL ALLEGATIONS

       19.     To apply for asylum, applicants must submit an Application for Asylum and for

Withholding of Removal (“Form I-589”) to USCIS.                 “[I]n the absence of exceptional

circumstances, the initial interview of hearing on the asylum application shall commence not later

than 45 days after the date an application is filed.” 8 U.S.C. § 1158(d)(5)(A)(ii).

       20.     Only after Defendants conduct the initial credible fear interview can USCIS issue

its decision on an asylum application. 8 U.S.C. § 1158(d)(5)(A)(iii). A credible fear interview is

used to show “‘credible fear of persecution’ mean[ing] that there is a significant possibility, taking

into account the credibility of the statements made by the alien in support of the alien’s claim and

such other facts as are known to the officer, that the alien could establish eligibility for asylum

under Section 1158 of this title.” 8 U.S.C. § 1225(b)(1)(B)(v).

       21.     Mr. M’Bareck is a native and citizen of the Islamic Republic of Mauritania.

       22.     Mr. M’Bareck belongs to a caste or social group called the Haratines (slave

descendants). In 1981, slavery was legally abolished in Mauritania but Mr. M’Bareck, born only

six years later, grew up in a country with strict de facto segregation, servitude, and caste codes.

       23.     Mr. M’Bareck used education to escape from poverty. He eventually worked his

way into the President of Mauritania’s Cabinet of Advisors. He then came to the United States as

a Fulbright scholar and now resides near the University of Arkansas where he studied.

       24.     Before moving to the United States for graduate school, Mr. M’Bareck was a part

of Mauritanian President Mohamed Ould Abdel Aziz’s cabinet. Mr. M’Bareck used his position



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in government to secretly help human rights organizations, like the Initiative for the Resurgence

of the Abolitionist Movement (“IRA”), to organize against the government’s lack of action

regarding continued slavery and caste codes.

       25.     The IRA is a human rights group fighting for a true end to slavery in Mauritania

that is illegal inside the nation. Its prohibited status in Mauritania is because the government

refuses to acknowledge any organization that is fighting for the acknowledgement of slavery as an

ongoing issue in the country. The government has wrongly labeled them as a “racist organization”

in order to control the nation’s preferred narrative and reputation.

       26.     Mr. M’Bareck is seeking political and religious asylum after speaking out against

a dangerous government policy. He has made political statements that Mauritania does not

adequately protect people, specifically people called Haratines, who are still considered to be in

the caste of ancestrally enslaved people.

       27.     Specifically, on January 15, 2018, the IRA peacefully protested to condemn the

arbitrary detention of its members and other political prisoners. Marchers and peaceful protestors

were beaten by the police to silence their voices. Mr. M’Bareck, while in the United States,

publically posted his dismay and frustration, writing that he felt “[the police] beat the slave

abolitionists as if they were ordered to beat to kill.” Mr. M’Bareck posted again frequently the

following days sharing his criticism and dismay for the government’s handling of slavery and

called for positive discrimination (affirmative action) for the Haratines. The following day, Mr.

M’Bareck was fired from his job in the Mauritanian presidential administration and the

Mauritanian government carried out a public campaign in the Mauritanian press slurring Mr.

M’Bareck’s reputation, integrity, and credibility.




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       28.     Mr. M’Bareck, who is now officially labeled an enemy of the Mauritanian

government, fears that if he returns to Mauritania he will be jailed and tortured, or worse, and that

returning would allow the government to accuse and convict him of any offense that they wish.

       29.     Mr. M’Bareck is especially fearful because of his connection with the IRA. He has

seen individuals jailed for fifteen years for mere affiliation with the group, even without publishing

written criticisms of the government’s abuse. Mr. M’Bareck credibly fears his punishment for

public political activism and position would be much worse.

       30.     Mr. M’Bareck fears that his affiliation, written criticism and previous work under

the government will make him a target for political imprisonment and torture. If he returns, the

chances of imprisonment and torture are extremely high. In the event of torture, his medical needs

would likely go unaddressed, potentially resulting in permanent disability or death. This has

occurred to others.

       31.     Mr. M’Bareck also fears that he could face an immediate death sentence, as others

in his country have, for speaking out against the government on social media.

       32.     Mr. M’Bareck’s wife and son, who were present in Mauritania at the time of his

posting, were required to be silent and denounce him to avoid punishment by the government. His

wife still lost her job as a result of Mr. M’Bareck’s statements.

       33.     Anyone daring to challenge the ongoing servitude and the echoes of the country’s

recent history of legal slavery is in danger of being charged with blasphemy, as the institution of

slavery is protected under a very fundamentalist reading of the Quran.

       34.     Mr. M’Bareck filed a Form I-589 asylum application on August 16, 2018, within

one year of arriving in the United States. See 8 U.S.C. § 1158(a)(2)(B). Receipt of his application

was acknowledged by USCIS on August 18, 2018.



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       35.     Mr. M’Bareck has not yet had a credible fear interview scheduled by USCIS.

       36.     Mr. M’Bareck has never applied for asylum before and therefore has never been

denied on a previous application. 8 U.S.C. § 1158(a)(2)(C).

       37.     Mr. M’Bareck has never been and is not in removal proceedings, nor was Mr.

M’Bareck in removal proceedings at the time he filed his Form I-589.

       38.     Since applying for asylum on August 16, 2018, Mr. M’Bareck has not traveled

outside of the United States, nor missed an immigration court hearing as he has had no hearings

scheduled.

       39.     Mr. M’Bareck is entitled to be interviewed by a USCIS asylum officer in a non-

adversarial manner within a reasonable time. 5 U.S.C. § 555(b).

       40.     Mr. M’Bareck has yet to receive an interview date for his asylum application. It

has been three years since his application was filed. USCIS has failed to comply with its

nondiscretionary, statutory duty to adjudicate his application.

       41.     Mr. M’Bareck has attempted to schedule the interview by applying for an expedited

hearing during the Fall of 2018. He also called on February 12, 2021, in an attempt to schedule

an interview. He was told that there was nothing to do but wait until further notice.

       42.     This failure to act has caused Mr. M’Bareck harm. The delay of 1,042 days beyond

when his initial interview should ordinarily have been held, see 8 U.S.C. § 1158(d)(5)(A)(ii), has

put him in a status of legal limbo. Through no failure of his own, Mr. M’Bareck has been delayed

in the adjudication of his asylum case, causing a delay in his ability to petition for his family and

holding him back to future adjustment of status by what is now approaching three years. The delay

has barred him from the advantages that come with asylum including a path to citizenship,




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permanent work authorization, and help from a refugee agency located in Fayetteville that is able

to serve in many ways people with approved asylums.

       43.     Mr. M’Bareck has an inherent interest in having his interview conducted and his

application adjudicated in an orderly and timely manner as mandated by 5 U.S.C. § 555(b).

       44.     Defendants’ continued failure to timely schedule an asylum interview for the

Petitioner has impaired Mr. M’Bareck’s family situation and delayed his ability to plan a life in

the United States, including enjoying the benefits of asylum status should it be granted.

       45.     Mr. M’Bareck grew up feeling pain and suffering from the de facto segregation he

experienced. He was constantly told he would amount to nothing and that his purpose in life was

to be a slave to the white Moors. These memories are on replay in his head daily as he awaits the

scheduling of his interview. His therapist advises that he is experiencing severe anxiety and

depression. Not knowing what will occur in the future has left Mr. M’Bareck paralyzed in

confusion and fear, inhibiting him from enjoying life.

                    COUNT I – PETITION FOR WRIT OF MANDAMUS

       46.     Under 28 U.S.C. § 1361 (“The Mandamus Act”), federal district courts are

empowered to “compel an officer or employee of the United States or any agency thereof to

perform a duty owed to the Petitioner” only if the defendant owes him a nondiscretionary duty and

if there has been an exhaustion of all other avenues of relief. Heckler v. Ringer, 466 U.S. 602,

603–04 (1984).

       47.     Mr. M’Bareck has a statutory right to apply for asylum and to be considered for

that relief pursuant to 8 U.S.C. § 1158(a).




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        48.     Defendants in turn have a nondiscretionary duty to schedule an interview and

adjudicate his application. See 5 U.S.C. § 555(b). These corresponding rights and obligations are

clear and unambiguous.

        49.     Defendants, who have the duty to determine if Mr. M’Bareck legally qualifies as a

refugee, have failed to perform their duty. Defendants have discretion in the granting and denying

of asylum applications, but have no discretion in whether to process and adjudicate his application

in the first place.

        50.     No other remedy is available to Mr. M’Bareck under the INA for the scheduling of

a credible fear interview. Though nothing is required from him, Mr. M’Bareck has gone out of his

way to apply for an expedited hearing during the Fall of 2018, and called USCIS on February 12,

2021, in an attempt to schedule an interview – all to no avail.

    COUNT II – REVIEW OF AGENCY ACTION UNDER THE ADMINISTRATIVE
                           PROCEDURE ACT

        51.     The APA authorizes suit by a person “suffering a legal wrong because of agency

action, or adversely affected or aggrieved by agency action within the meaning of a relevant

statute.” 5 U.S.C. § 702. Agency action is defined in 5 U.S.C. § 702(b)(2) by reference to 5 U.S.C.

§ 551, defining agency action as a “failure to act.” 5 U.S.C. § 551(13).

        52.     The APA provides relief when an agency has failed to act. Under 5 U.S.C. § 706(1),

“[t]he reviewing court shall . . . compel agency action unlawfully withheld or unreasonably

delayed.”     Such relief is appropriate here because the agency has failed to perform a

nondiscretionary act “that it is required to take.” Norton v. S. Utah Wilderness All., 542 U.S. 55,

64 (2004).

        53.     This Court has jurisdiction and authorization to compel agency action that has been

“unreasonably delayed” or “unlawfully withheld.” 5 U.S.C. § 706(1).

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       54.     This Court should determine that the agency’s delay in providing a credible fear

interview to Mr. M’Bareck is unreasonable under the six factors articulated in Telecomms.

Research & Action Ctr. v. FCC (“TRAC”), which are: (1) the time agencies take to make decisions

must be governed by a rule of reason; (2) where Congress has provided a timetable or other

indication of the speed with which it expects the agency to proceed in the enabling statute, that

statutory scheme may supply content for this rule of reason; (3) delays that might be reasonable in

the sphere of economic regulation are less tolerable when human health and welfare are at stake;

(4) the court should consider the effect of expediting delayed action on agency activities of a higher

or competing priority; (5) the court should also take into account the nature and extent of the

interests prejudiced by delay; and (6) the court need not find any impropriety lurking behind

agency lassitude in order to hold that agency action is unreasonably delayed. See TRAC, 750 F.2d

70, 80 (D.C. Cir. 1984).

       55.     Mr. M’Bareck has no adequate remedy at law and will suffer irreparable harm if

his asylum interview is not conducted in a reasonable time. Mr. M’Bareck has exhausted all other

options such as requesting an expedited hearing during the Fall of 2018 and calling Defendants in

an attempt to schedule the interview himself on February 12, 2021.

                                     PRAYER FOR RELIEF

       WHEREFORE, Petitioner, Mr. M’Bareck, respectfully requests that the Court:

   A. Compel Defendants to schedule an initial asylum interview for Mr. M’Bareck within a

       reasonable time not to exceed 45 days from the date of the Court’s order, and to thereafter

       adjudicate his asylum application within a reasonable time not to exceed 180 days from the

       date of the Court’s order;




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   B. Award Mr. M’Bareck reasonable costs and expenses under the Equal Access to Justice Act,

       28 U.S.C. § 2412; and

   C. Grant any other relief that the Court deems just and proper.

Dated: August 17, 2021

                                                            Respectfully submitted,

                                                       By:     ___________________
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                                CERTIFICATE OF SERVICE

        I, Matthew Bender, do hereby certify that on this 17th day of August, 2021, I electronically
filed the foregoing with the Clerk of the Court using the CM/ECF System which will send
notification of such filing to all parties of record.

                                                     _/s/ Matthew Bender___________________
                                                     Attorney for Plaintiff




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